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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                         CIVIL ACTION

VERSUS                                                        NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                      SECTION: “I”(5)

                                         ORDER

      Independent Jail Compliance Director Darnley R. Hodge, Sr. has filed an opposition

memorandum in this case which, including exhibits, is 158 pages in length. (Rec. doc.

1297). Because the submission exceeds 50 pages, counsel for Director Hodge shall make

arrangements with the Court’s Case Manager, Dena White, at (504) 589-7719 for delivery

of a hard copy of the submission to the Court for its use. The copy must be spiral bound,

tabbed, and reflect pagination and document numbers consistent with the electronic

document stamping of the CM/ECF system. Counsel for the parties are reminded that any

future filings greater than 50 pages in total length shall automatically be subject to the

same requirement.

      New Orleans, Louisiana, this 23rd day of             July              , 2020.




                                                        MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE
